        Case 19-34054-sgj11           Doc 3999 Filed 12/27/23 Entered 12/27/23 08:02:14                      Desc
                                      Letter RE deficiency (BK) Page 1 of 1
BTXN 027 (rev. 06/13)
                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §    Case No.: 19−34054−sgj11
                                                             §    Chapter No.: 11
                                           Debtor(s)         §


Dear Counsel:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                Interim Report
                Trustee's Final Account
                Trustee's Final Report
                341 Meeting Minute Sheet and Exempt Property Report
                Report of Trustee in No−Asset Case and Application for Closing
                Motion to Dismiss debtor's Failure to Attend 341 Meeting
                Other: requesting an order (RE: related document(s)[3957] Motion to strike (related
                document(s): [3910] Motion for contempt against Scott Byron Ellington and His Counsel
                regarding Violation of the Gatekeeper Provision and Gatekeeper Orders filed by Debtor
                Highland Capital Management, L.P., Creditor James P. Seery, Other Professional James P.
                Seery, Other Professional Highland Claimant Trust) and Response Subject Thereto Opposing the
                Movants' Motion Requesting an Order Requiring Lynn Pinker and Pettit to Show Cause Why
                They Should Not be Held in Civil Contempt for Violating the Gatekeeper Provision and
                Gatekeeper Orders filed by Interested Parties Lynn Pinker Hurst & Schwegmann, LLP, The
                Pettit Law Firm)

                Per hearing held entry 12/4/2023: "Parties reached agreed resolution of this matter during break
                of hearing. Agreed Order will be electronically submitted."

                Responses due by 1/3/2024. (Ecker, C.)

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 7 days from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 12/27/23                                   FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/C. Ecker, Deputy Clerk
                                                  cathy_ecker@txnb.uscourts.gov
